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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,              )
                                       )
                 Plaintiff,            )
                                       )
      v.                               )                 Case No. 07-20072-01-JWL
                                       )
JEREMY GARROD,                         )
                                       )
                 Defendant.            )
                                       )
______________________________________ )


                            MEMORANDUM AND ORDER

       On February 2, 2010, the clerk’s office received a document signed by “John

Gregory Lambros, JailHouse Lawyer,” requesting that this Court stay an order it issued

on December 2, 2009 denying a petition defendant Jeremy Garrod filed under 28 U.S.C.

§ 2255. Despite the fact that Mr. Garrod may have chosen to treat him as such, Mr.

Lambros is not an attorney. Moreover, Mr. Garrod did not sign the document the clerk’s

office received, despite the fact that he is proceeding pro se and is therefore required

under D. Kan. Rule 5.1(b) to sign all filed documents. See D. Kan. Rule 5.1(b) (“[t]he

original of every pleading, motion, or other paper filed by a party not represented by an

attorney must bear the genuine signature of the pro se party.”) Moreover, the Court has

previously warned Mr. Garrod in an order entered August 27, 2009 that it will not accept

any pro se submissions that he has not personally signed. As the purported filing does




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not comply with the local rules despite this Court’s warning, the Court orders the clerk’s

office not to file the document.


       The Court notes that it is not presented with the sort of situation where a pro se

party has attempted on his own to file an unsigned document that is accompanied by a

letter bearing his own signature. Instead, the Court here is faced only with the bald

assertion of the alleged “JailHouse Lawyer,” Mr. Lambros, that he is acting on Mr.

Garrod’s behalf. The Court simply cannot accept such an allegation on its face and

therefore requires that Mr. Garrod comply with Rule 5.1(b) by signing all documents he

wishes to file with this Court. To the extent that Mr. Garrod believes that he is unfairly

prejudiced by this Court’s refusal to accept this unsigned pleading, he should address the

issue in a proper motion that complies with the local rules.


       IT IS THEREFORE ORDERED BY THE COURT that the clerk’s office will

not file the document it received on February 2, 2010, purporting to request a stay of the

order this Court issued on December 2, 2009, denying Mr. Jeremy Garrod’s petition

under 28 U.S.C. § 2255.


       IT IS SO ORDERED this 4th day of February, 2010.



                                                  s/ John W. Lungstrum
                                                  John W. Lungstrum
                                                  United States District Judge



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